Case 0:04-cr-60001-MGC Documen t1358 Entered on FLSD Docket 03/05/2008 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 04-60001-CR

The attached hand-written
document
has been scanned and is
also available in the
SUPPLEMENTAL
PAPER FILE
0:04-cr-60001-MGC D t1358 Entered on FLSD Docket 03/05/2008 Page 2 of 2
ease ee EVENTH CIRCUIT TRANSCRIPT INFORMATION FORM

PART L TRANSCRIPT ORDER INFORMATION
Appellant to complete and file with the District Court Clerk within 10 days of the filing of the notice of appeal in all cases, including
those in which there was no hearing or for which no transcript is ordered.

 

 

 

Short Case Style.__United States vs Adhana Amin Hassoun
District Court No.: OY-b00 Ol Date Notice of Appeal Filed:__ 2 / ‘ / 200% Court of Appeals No.: Of - [ oF - G
Val ie

CHOOSE ONE: ONohearing 0 No transcript is required for appeal purposes All necessary transcript(s) on file
(XI AM ORDERING A TRANSCRIPT OF THE FOLLOWING PROCEEDINGS: (1 nit en tle

Check appropriate box(es) and provide all information requested. ecu en en
HEARING DATE(S) JUDGE/MAGISTRATE_ CX \eOURT REPORTER NAME(S

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METHOD OF PAYMENT:

Q ICERTIFY THAT I HAVE CONTACTED THE COURT REPORTER(S) AND HAVE MADE SATISFACTORY ARRANGEMENTS
WITH THE COURT REPORTER(S) FOR PA YING THE COST OF THE TRANSCRIPT.

Ww CRIMINAL JUSTICE ACT. Attached for submission to District Judge/Magistrate is my completed CJA Form 24 requesting authorization
for government payment of transcript. [A transcript of the following proceedings will be provided ONLY IF SPECIFICALLY AUTHORIZED in
Item 13 on CJA Form 24: Voir Dire, Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal; Jury Instructions.]

Ordering Counsel/Party: Law rence D. Rosen bers, L AL haw, Hassoun
= J

Name of Firm: Jones Dax

Street Address/P.O. Box: _9t_ LeowiSsene Avenne., Ni .wW/.

City/State/Zip Code: Washing fon DC. Liv | | 3 Phone No. :_( 22) E71 ~~ 5139

I certify that I have filed the original (Yellow page) with the District Court Clerk, sent the Pink and Green pages to the appropriate Court
Reporter(s) if ordering a transcript, and sent a photocopy to the Court of. Appeals Clerk and to all parties.

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PART IL COURT REPORTER ACKNOWLEDGMENT

Court Reporter to complete and file Pink page with the District Court Clerk within 10 days of receipt. The Court Reporter shall send a
photocopy to the Court of Appeals Clerk and to all parties, and retain the Green page to provide notification when transcript filed.
Date Transcript Order received:
Q Satisfactory arrangements for paying the cost of the transcript were completed on:
O Satisfactory arrangements for paying the cost of the transcript have not been made.

 

 

No. of hearing days: Estimated no. of transcript pages: Estimated filing date:
DATE: SIGNED: Phone No. :

NOTE: The transcript is due to be filed within 30 days of the date satisfactory arrangements for paying the cost of the transcript
were completed unless the Court Reporter obtains an extension of time to file the transcript.

 

PART I, NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN DISTRICT COURT
Court Reporter to complete and file Green page with the District Court Clerk on date of filing transcript in District Court. The Court
Reporter shall send a photocopy of the completed Green page to the Court of Appeals Clerk on the same date.

This is to certify that the transcript has been completed and filed with the district court on (date):
Actual No. of Volumes and Hearing Dates:

Date: Signature of Court Reporter:

 

 

 

*U.S. GPO: 2004-636-599/00042

 
